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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
                 v.                            :       CRIMINAL NO. 23-cr-239 (CKK)
                                               :
ILYA LICHTENSTEIN, et al.,                     :
                                               :
                        Defendants.            :

                         GOVERNMENT’S MOTION FOR AMENDED
                         PRELIMINARY ORDERS OF FORFEITURE

          The United States of America, by and though the United States Attorney for the District of

Columbia, respectfully moves this Court pursuant to Fed. R. Crim. P. 32.2(b)(2) for entry of a

Second Amended Preliminary Order of Forfeiture for each of the defendants, Ilya Lichtenstein and

Heather Morgan.

          On October 15, 2024, the government submitted its first Amended Preliminary Order of

Forfeiture, ECF No. 148 (the “October 15 Order of Forfeiture”). As detailed below, the instant

amended orders are otherwise identical to the October 15 Order of Forfeiture, except that the

amended orders (1) update the current location of a portion of seized assets that were transferred

as a result of criminal activity; (2) reorganize some of the entries of seized property to combine

common asset types; and (3) add two new properties seized by the government. The defendants

remain liable for the forfeiture of any property involved in or constituting proceeds of their money

laundering conspiracy.

                                           ARGUMENT

          The government moves to amend and update the October 15 Order of Forfeiture. The

updated list of assets is attached as “Amended Attachment A.” Amended Attachment A does three

things:




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       First, Amended Attachment A updates the current location of a portion of the seized assets

that were stolen by unknown criminal actors and then recovered and secured by law enforcement.

Specifically, on or about October 24, 2024, while law enforcement was converting an estimated

$20.7 million of seized tokens from a relatively obscure virtual currency token to a type that is

accepted by the U.S. Marshals Service, an unknown attacker was able to access the funds and/or

manipulate the transaction and thereby steal the tokens. Immediately following the theft, law

enforcement traced the transactions on public virtual currency transaction ledgers, known as

blockchains. A portion of the stolen funds were frozen by third-party providers in coordination

with law enforcement. After the criminal actor was unable to liquidate the holdings, he or she

anonymously returned all of the stolen funds, except those that had been frozen by third-party

providers. As of on or about October 25, 2024, the United States has been able to recover an

estimated $19.3 million, with $1.2 million frozen by third-party providers. In other words, the

government has recovered approximately all of the stolen funds, and those funds are accounted for

in Amended Attachment A. The updates to entries related to these stolen funds are found in

Amended Attachment A entries “p.,” “q.,” and “r.,” as well as “ii.” and “jj.” The October 15 Order

of Forfeiture referenced those funds in entries “q.” “r.” and “s.”

       Second, Amended Attachment A batches some of the seized funds by token type. Those

batches are reflected in entries “i.” through “o.” of Amended Attachment A. The October 15 Order

of Forfeiture referenced those funds in entries “i.” through “p.”

       Third, Amended Attachment A includes new entries for funds seized over the course of the

investigation. For example, Amended Attachment A includes two new entries (“kk.” and “ll.”),

both of which the defendants have agreed to forfeit. Entry kk. is $43,354 recovered from the

defendants’ residence during the execution of a search warrant in January 2022. Entry ll. is 2.42401




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bitcoin seized from wallets recovered from defendants’ online storage account. Those wallets were

also contained on an external hard drive that was recovered from the defendants’ residence during

the January 2022 search warrant execution.

                                        CONCLUSION

       For the foregoing reasons, the government requests that the Court enter the attached

Amended Preliminary Orders of Forfeiture for both defendants.



                                             Respectfully submitted,
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